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*A0   2458    (Rev. 06105) Judgnent in a Criminal Case
                                                                   #523
              Sheet 1




                       SOUTHERN                                  District o f                                ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL. CASE
                              v.
                 LAJUAN D. JACKSON                                      Case Number:           4:06CR40029-003-JPG

                                                                        USM Number: 06864-025
                                                                         William Shirley
                                                                        Defendant's Attorney
THE DEFENDANT:
dpleaded guilty to count(s)           1 of the Fourth Superseding Indictment
  pleaded nolo contendere to count(s)
  which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through            10          of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is      are dismissed on the motion of the United States.

         I t is ordered that t& defendant must notify the Un~tedStates attorney for this dismct w i h n 30+    s of any change ofname, res~dcnce,
or mailing address untilall tines, restitution, costs, and special assessments imposed by thls )udgment are tu& pald. If ordered to pay restltutlon,
the defendant must notlfy the coun and Unlted States attorney of matenal changes tn cconomlc clrcunstances.




                                                                         J. Phil Gilbert                             District Judge
                                                                        Name of Judge                               Title of Judge
                                                                         0
                    Case 4:06-cr-40029-JPG                 Document 264 Filed 08/01/07                    Page 2 of 6      Page ID
A 0 2458        (Rev. 06/05) Judgment in Criminal Case               #524
                Sheet 2 -lrnprisonment


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                                                                 IMPRISONMENT
         The defendant is hereby commiaed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  234 months (The Court sentences the defendant to 240, but gives the defendant 6 months credit for time previously sewed
  for a discharged term of imprisonment on related state case 05CF314 of Jackson County, Illinois.


           The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal,
           The defendant shall surrender to the United States Marshal for this district:

                  at                                      a.m.         p.m.     on
           17     as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on
                  as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at                                                      , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL



                                                                                                     DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev. 06/05] Judgment in a Criminal Case
              Sheet 3 - ~u~eN~sed  Release


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                                                                                                                           3 of                 10

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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  10 years on Count 1 of the Fourth Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suxrnit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 $( The defendant shall not possess a fuearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 [7     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6 ) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refraln from exccssl\e use of alcohol and shall nor purchase, pos,css, use, d~stnbutc,or admlnl~terany
       controlled substance or any panphernal~arelated to any controlled substances, except as prescr~hcdby a physician,
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any penon convicted of a
           felony, unless granted permission to do so by the pro%ationofficer;
  10)      thc defendant shall pemut a probation officer to visit him or her at any time ar home or elsewhere and shall pemut confiscat~onof any
           contraband obscrved m plain vlcw of tht probat~onofficer,
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court, and
  13)      as directed by the robation officer, the defendant shall notify,third parties of risks that may be occasioned by the defendant's criminal
           record or           history or characteristics and shall p e m t the prohatlon officer to make such nohficatlons and to c o n f m the
           defendant s compliance with such nohficahon requuement.
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           Sheet 3C - Supervised Release                        #526
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account, however, if the account balance is less than $20.00, no payment shall
 be required.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
A 0 2458
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           Sheet 5 C r i m i n a l Monetary Penalties             #527
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                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                         -
                                                                          Fine                                 Restitution
 TOTALS            $ 100.00                                            $ 200.00                              $ 0.00



 • The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Care(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
     the pnority order or percentage payment columnxelow. However, pursuant to 18 8 s . 8 . 5 366481, all nonfederal victims must be paid
     before the United States is paid.

 Kame of Pavce                                                             Total*               Restitution Ordered             Yrioriw or Percentas
                                                                                                                  ' '   !       .    , , ' , :*lKl%*"
                                                                                                                            '   2%       JII'W          ...:c,




 TOTALS                                $                       0.00            $                       0.00


 17 Restitution amount ordered pursuant to plea agreement $
      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 Q( The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      Q( the interest requirement is waived for the           @ fme            restitution.
           the interest requirement for the             fme           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
A 0 2458   (Rev.Case     4:06-cr-40029-JPG
                 06/05) Judgment in a Criminal Case
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           Sheet 6 - Schedule of Payments                        #528
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DEFENDANT: LAJUAN D. JACKSON
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

                not later than                                    , or
                in accordance               C,         D,   I-J     E, or   @f F below; or
B          Payment to begin immediately (may be combined with               C,      I-J D, or       F below); or

C          Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     I-J Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    $i    Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater toward his fine.




Unless the court has express1 ordered othenuise, if this judgment imposes imprisonment, a ent ofcriminal monetary penalties is due durin
unprlsonqepi. All cnnina/mone% penaloes, except those payments made tbrougg g ~ e d e r a Bureau    l     of Prisons' Inmate ~ i n a n i i 3
Responsib~lltyProgram, are made to e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the tbllowing order: ( 1 assessment, (2) restltutlon principal, (3) restitut~oninterest, (4) fine principal,
( 5 ) finr mtercst, (6)community restitutioh (7) penalties, and (3) costs, Including cost of prosecut~onand court costs.
